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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                  )
AMERICAN OVERSIGHT,                               )
                                                  )
          Plaintiff,                              )
                                                  )
    v.                                            )
                                                  )         Civil Action No. 25-cv-883-JEB
PETE HEGSETH, in his official capacity as         )
Secretary of Defense et al.,                      )
                                                  )
          Defendants.                             )
                                                  )


                              DEFENDANTS’ STATUS REPORT

         Pursuant to the Minute Order entered on March 27, 2025, Defendants file this status report

with the attached declarations setting forth steps that they have taken to implement preservation of

the Signal group chat communications from March 11-15, 2025.

         1.      After a hearing on the Plaintiff’s Motion for Temporary Restraining Order, the

Court entered the following Minute Order:

         As agreed by the parties in today’s TRO hearing, the Court ORDERS that: 1)
         Defendants shall promptly make best efforts to preserve all Signal communications
         from March 11-15, 2025; 2) By March 31, 2025, Defendants shall file a Status
         Report with declarations setting forth the steps that they have taken to implement
         such preservation; and 3) This Order shall expire on April 10, 2025, in the event
         that Defendants’ measures are satisfactory to the Court.

         2.      As stated in the Notice filed on March 28, 2025, ECF No. 9, Defendants understand

that the Court’s order to “preserve all Signal communications from March 11-15, 2025” refers

specifically to the group chat on which Plaintiff has centered its lawsuit. See, e.g., Plaintiff’s

Motion for Temporary Restraining Order at 1, ECF No. 6; Complaint ¶ 28 & n.1, ECF No. 1.

Accordingly, the declarations attached to this status report as Exhibits 1-4 set forth steps that the



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Department of Defense (“DoD”), Office of the Director of National Intelligence (“ODNI”), the

Central Intelligence Agency (“CIA”), and the State Department have taken to preserve that Signal

group chat.

       3.      In addition, the Declaration of Christopher Pilkerton, Acting General Counsel, U.S.

Department of the Treasury that was attached to Defendants’ Opposition to Plaintiff’s Motion for

a Temporary Restraining Order, ECF No. 8-1, sets forth steps that the Department of Treasury has

taken to preserve the Signal group chat. See also Declaration of Gerald J. Dziecichowicz, Associate

Deputy General Counsel for DoD, attached to Defendants’ Opposition to Plaintiff’s Motion for a

Temporary Restraining Order, ECF No. 8-2.




Dated: March 31, 2025                        Respectfully submitted,

                                             YAAKOV M. ROTH
                                             Acting Assistant Attorney General, Civil Division

                                             MARCIA BERMAN
                                             Assistant Branch Director
                                             Federal Programs Branch

                                              /s/ Amber Richer__________________
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